      Case 4:11-cv-04109 Document 1 Filed on 11/23/11 in TXSD Page 1 of 6




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

PATRICIA ARTIS,                                 §
                                                §
      Plaintiff,                                §
                                                §
      v.                                        §       No.
                                                §
GC SERVICES, LP,                                §
                                                §
      Defendant.                                §

              COMPLAINT AND DEMAND FOR JURY TRIAL

      PATRICIA ARTIS (Plaintiff), through her attorneys, KROHN & MOSS, LTD., alleges

the following against GC SERVICES, LP, (Defendant):

                                        INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

      seq. (FDCPA).

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                               JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   4. Defendant has its principal place of business in the state of Texas, and therefore, personal

      jurisdiction is established.

   5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).


                                     PLAINTIFF’S COMPLAINT                                         1
  Case 4:11-cv-04109 Document 1 Filed on 11/23/11 in TXSD Page 2 of 6




                                        PARTIES

6. Plaintiff is a natural person residing in Reno, Nevada.

7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought to

   collect a consumer debt from Plaintiff.

9. Defendant is a national debt collection company and conducts business in Texas.

                              FACTUAL ALLEGATIONS

10. Defendant places collection calls to Plaintiff seeking and demanding payment for an alleged

   debt.

11. Defendant calls Plaintiff at (775) 691-2161 and leaves messages for Plaintiff to call (800)

   846-6406.

12. On or around November 6, 2011, Defendant called Plaintiff and left a voicemail without

   meaningfully disclosing its identity and without disclosing that it is a debt collector. (See

   Exhibit A).

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

13. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692d(6) of the FDCPA by failing to meaningfully disclose the

           identity of Defendant;

       b. Defendant violated §1692e(11) of the FDCPA by failing to disclose to the

           Defendant that it is a debt collector.

   WHEREFORE, Plaintiff, PATRICIA ARTIS, respectfully requests judgment be entered

                               PLAINTIFF’S COMPLAINT                                           2
        Case 4:11-cv-04109 Document 1 Filed on 11/23/11 in TXSD Page 3 of 6




against Defendant, GC SERVICES, LP, for the following:

   14. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

        U.S.C. 1692k,

   15. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

        U.S.C. 1692k , and

   16. Any other relief that this Honorable Court deems appropriate.



                                                            RESPECTFULLY SUBMITTED,

        Dated: November 23, 2011                            By:/s/Michael Agruss,
                                                            Michael Agruss Esq.
                                                            Attorney for Plaintiff
                                                            CA SBN: 259567
                                                            Krohn & Moss, Ltd
                                                            120 W. Madison, 10th Floor
                                                            Chicago, Illinois 60602
                                                            Tel: 323-988-2400 x235
                                                            Fax: (866) 620-2956
                                                            Email:
                                                            magruss@consumerlawcenter.com




                               DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, PATRICIA ARTIS, demands a jury trial in this

case.




                                  PLAINTIFF’S COMPLAINT                                          3
Case 4:11-cv-04109 Document 1 Filed on 11/23/11 in TXSD Page 4 of 6
Case 4:11-cv-04109 Document 1 Filed on 11/23/11 in TXSD Page 5 of 6




                           EXHIBIT A




                      PLAINTIFF’S COMPLAINT                           5
    Case 4:11-cv-04109 Document 1 Filed on 11/23/11 in TXSD Page 6 of 6



This message is for Patricia Artis, Jeff Artis or Gary Artis.
This is Sheryl _____ please return my business call to 1-800-
846-6406, extension 5785. Thank you.
